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August 10, 2015


The Honorable Judge T.S. Ellis III:


       Your Honor, I am writing this letter in support of my nephew, Muneeb Akhter. I am Muneeb’s
maternal aunt and have known him all of his life. I was very fortunate to welcome him and his twin
brother home when they were born in Maryland. My school days were spent thinking about my baby
twin nephews and thoughts of excitement of being able to hold them when I came home. Even after they
moved away for a while, we always kept in touch via telephone and hand written letters. The news of my
sister, nieces and nephews finally moving back to the area was great and would make the tradition of
visiting them during school holidays a much needed one.

       Muneeb was always very special to my family and we really enjoyed seeing him grow up to
become a well-mannered, studious and academically successful young man. We were always proud of
him and marveled at all of his accomplishments in life. I was fascinated and filled with pride when he
shared with me his senior year final project in which he was part of a team of engineers that created a
robotic arm with multi directional signal transmission capabilities. It seemed something straight out of a
movie and as I watched him give his professor and peers a presentation on how parts of this robot moved
using complex algorithms, it brought me to tears and I knew deep down that this kid was capable of doing
great things and making a real difference in life. I had no doubt in my mind that he was brilliant and the
ability he has is something that is very unique.

       When I first heard about the trouble Muneeb was in I found it very difficult to digest. I still have a
knot and pain in my chest and guts when I think about how brilliant and how well–mannered he is and the
hard reality that he has been put into custody away from his family, away from the comfort of his home in
a place that holds people that may have committed heinous acts against others. It pains me because
Muneeb is not one of those people. He does not hurt people. He is a quiet young man and like many
young men, he has made mistakes and is owning up to them. I don’t understand why these mistakes were
made. But writing to you as a mother of two children of my own, I realize that raising children in a
society with mistake free children is not reality. My own children make mistakes and as a parent I help
them to realize those mistakes and to learn from them. I can honestly say that Muneeb never meant to
hurt anyone. His curiosity, his naivety about the way the “non-virtual” world works, and the hard
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responsibilities that come with having such in-depth knowledge in a fairly new field has impacted him in
ways that I did not comprehend. I know he is regretful of these mistakes and will do his utmost to make
up for them.

       My family and I have very strong values and we are taught at a very early age about the
importance of honesty and that every situation we are in is a learning experience that ultimately forms us
and makes us who we are – every triumph, every defeat, every hardship and every ease. We miss him
immensely and we trust that he will grow and mature from this experience. Muneeb has made mistakes
but will make up for it. I fear his life is at a cross road that will either make or break him and I know
deep inside that if he is given this chance, he will take that road of making a life that is great for everyone
around him. He will be an asset to the world and will benefit many for years to come. Please give him
that chance. Please open that road for him.

       Your honor, I do not make excuses for my nephew but I am begging you and the court to please
take into consideration who Muneeb is from within. As you speak to him and if you are able to speak to
his loved ones you will hear that Muneeb is not a person with even a tissue of malice towards others. He
is kind, he is gentle, and he fills the needs of others. He is a growing young man who has a great gift and
the ability to impact the computer engineering world with fascinating inventions. His many certifications,
his degrees, his recognition from his Dean at the university, his ability to teach others and even his senior
college project showcases some of that ability. I know deep down that given the right guidance, the right
direction and a second chance, my nephew will do great things.



Sincerely,



Sameena Parveen
